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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA

                           Case Number: 8:21-cv-01319

LINDA FARHAT,
individually and on behalf of all
others similarly situated,                            CLASS ACTION

      Plaintiff,                                      JURY TRIAL DEMANDED

v.

UNIQUE HEALTHCARE SYSTEMS, LLC
d/b/a AFC URGENT CARE PINELLAS PARK,

    Defendant.
__________________________________/

         JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       It is hereby stipulated and agreed by and between Plaintiff Linda Farhat and

Defendant, Unique Healthcare Systems, LLC d/b/a AFC Urgent Care Pinellas Park

pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), that this action, inclusive of all claims

 asserted, or that could have been asserted, by Plaintiff individually against Defendant,

 be, and the same hereby are, dismissed in its entirety with prejudice, with each party

 bearing its own fees and costs. All claims of the putative class are hereby dismissed

without prejudice.
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 Respectfully submitted,

Dated: 7/19/2022



 /s/ Michael Eisenband                   /s/ Isaac R. Ruiz-Carus
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